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May 11, 2022
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(For information purposes only) (For information purposes only)

RE: Christine Biros v. U Lock, Inc.
Westmoreland County Court of Common Pleas Case No. 17CJ04886

WRITTEN NOTICE OF DATE AND TIME OF PRESENTATION OF MOTION

Dear Sirs:

By letter dated May 5, 2022, I transmitted a copy of Evidence in Support of Plaintiffs Motion
for Sanctions Pursuant to 42 Pa.C.S.A. §2503(7) and (9) and Pa.R.C.P. Rule 1023.1(d).

Please be advised this will be presented on Friday, May 20, 2022 at 9:00 a.m. in the Courtroom
of Judge Smail, Court of Common Pleas of Westmoreland County. It is my intention to present this

matter as well as to address other matters related to the Motions which are currently before Judge
Smail.

If you have any questions, please contact me.

Very truly yours,

illiam E. Sito, Esq.

WEO/dlj

ce: Honorable Harry F. Smail, Jr.

 
